Case 0:17-cv-61536-KAM Document 10 Entered on FLSD Docket 08/10/2017 Page 1 of 2



                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                     Case No.: 0:17-cv-61536-UU

  CARLOS BENDAYAN, et al.,

            Plaintiffs,

  v.

  DYMANIC INTERNATIONAL AIRWAYS, LLC, et al.,

        Defendants.
  _______________________________/

                                               ORDER

            THIS CAUSE comes before the Court upon a sua sponte examination of the record.

            THE COURT has considered the pertinent portions of the record, and is otherwise fully

  advised in the premises.

            On August 3, 2017, Defendant Dynamic International Airways, LLC, filed a Suggestion

  of Bankruptcy and Notice of Stay of Proceedings. D.E. 3. On August 4, the Court stayed the

  case as to Defendant Dynamic International Airways, LLC. D.E. 6. On that same day, the Court

  ordered Plaintiffs to inform the Court whether they intended to proceed against Defendant

  Captain Todd Thielbar alone. D.E. 5. On August 9, Plaintiffs responded that they did so intend.

  D.E. 7.

            Plaintiffs’ claims are premised on the Montreal Convention, or in the alternative, the

  Warsaw Convention. See D.E. 1-2. These conventions permit claims only against carriers. See

  Convention for Int'l Carriage by Air, S. Treaty Doc. No. 106-45, Ch. III, Art. 17 (May 28, 1999);

  see also Ugaz v. Am. Airlines, Inc., 576 F. Supp. 2d 1354, 1364 (S.D. Fla. 2008) (“[T]he
Case 0:17-cv-61536-KAM Document 10 Entered on FLSD Docket 08/10/2017 Page 2 of 2



  Montreal Convention only governs carriers. . . . because the County is not a carrier, it cannot be

  held liable where an action falls within the Convention’s purview.”). Accordingly, it is

         ORDERED AND ADJUDGED that Plaintiffs SHALL show good cause in writing by

  Friday, August 18, 2017, as to why this case should not be dismissed as to Defendant Captain

  Todd Thielbar.

         DONE AND ORDERED in Chambers at Miami, Florida, this 10th day of August, 2017.



                                                      ________________________________
                                                      UNITED STATES DISTRICT JUDGE
  cc:
  counsel of record via cm/ecf
